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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

 JENNIFER VANDERSTOK, et al.,                  §
                                               §
        Plaintiffs,                            §
                                               §
 v.                                            §
                                               §
 BLACKHAWK MANUFACTURING                       §
 GROUP INC., et al.,                           §
                                               §    Civil Action No. 4:22-cv-00691-O
        Intervenor Plaintiffs,                 §
                                               §
 v.                                            §
                                               §
 MERRICK GARLAND, et al.,                      §
                                               §
        Defendants.                            §

                 ORDER GRANTING 7-DAY ADMINISTRATIVE STAY

       Before the Court is Defendants’ Emergency Motion for Stay Pending Appeal (ECF No.

236), filed July 14, 2023. Defendants seek a stay of this Court’s recently entered Memorandum

Opinion & Order (ECF No. 227) and Final Judgment (ECF No. 231) pending appeal. Defendants

ask this Court to consider their motion on an expedited basis and issue a decision no later than

10:00 a.m. CDT on July 24, 2023. Having considered the motion, the Court summarily DENIES

the request for a stay pending appeal but STAYS the applicability of its Opinion and Final

Judgment for 7 days in order that Defendants may seek emergency appellate relief.

       SO ORDERED this 18th day of July, 2023.




                                                   _____________________________________
                                                   Reed O’Connor
                                                   UNITED STATES DISTRICT JUDGE
